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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 1:23-cr-261-APM
                                             :
                                             :
TERRY ALLEN,                                 :
                                             :
                      Defendant.             :


                                    ORDER


       For the reasons provided in the government’s response (ECF No. 72) to Defendant Terry
Allen’s motion for property return (ECF No. 69), including the need for the government to retain
relevant and potentially relevant evidence in light of the defendant’s pending appeal of the
Judgment against him, See ECF No. 65, the defendant’s motion is hereby GRANTED in part and
DENIED in part.

        The government is hereby ORDERED to provide an authorized representative or
immediate family member of the defendant with the following objects or categories of objects
seized on July 6, 2023 in relation to the above-captioned case: (1) all firearms, ammunition, body
armor, and firearm-related accessories and documents; and (2) all electronic devices except the
defendant’s iPhone 11 and satellite phone in the government’s possession. 3
       Defendant's request that the government deliver the returned items to the property
where they were seized is denied.

Signed this 3rd day of January, 2025         .
                                                                              2025.01.03
                                                                              15:27:28
                                                                              -05'00'
                                                            AMIT P. MEHTA
                                                            U.S. DISTRICT COURT JUDGE




3
 The property to be released by the government shall include the following items detailed in
Exhibit A of ECF No. 73: Item #s 1, 2, 6–16A1 from pages 1–2; Item #s 1B–7B, 10B–31B from
pages 3–5; and all ammunition detailed in pages 6–9.
